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                                                                         July 31, 2024

MAGISTRATE JUDGE STEVEN I. LOCKE
100 Federal Plaza
Courtroom 820
Central Islip, NY 11722

                       Re:     Yitzhak, et al. v. Verner, et al.
                               2:24-cv-03552

Dear Judge Locke:

       Plaintiffs write this letter motion in furtherance of your individual practice
rule 4(A)(i), requesting permission from this Court to move to compel the transfer of
those funds held in escrow in satisfaction of Plaintiffs’ Judgment or for a directive to
Defendants to safeguard any undisbursed funds from escrow.

       Defendants produced an accounting which shows the receipt of $1,598,832.05,
and payments totaling $917,699 having been disbursed. Thus, according to
Defendants’ accounting, $681,133.05 still has not been disbursed. As those funds are
subject to collection by Plaintiffs, Plaintiffs request the permission of this Court to
formally move to compel the transfer of those funds in partial satisfaction of
Plaintiffs’ Judgment. In the alternative, Plaintiffs would ask for a reasonable
restraint to prohibit the disbursement of any of the remainder of the funds received,
to wit: $681,133.05, until such time as this matter is fully adjudicated.

      A letter was sent to Defendants’ counsel on July 29, 2024 requesting
confirmation that the funds remained in the account. A copy of this letter is attached
hereto. This good faith effort was not answered.

                                                Very truly yours,

                                                THE WEINSTEIN GROUP, P.C.



                                                LLOYD J. WEINSTEIN, Esq.
